   Case 1:19-cr-00492-HG Document 7 Filed 10/24/19 Page 1 of 5 PageID #: 18

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                                                                            U.S. DISTRICT COURT E.D.N.Y.
SSS:JV
                                                                            ★      OCT 2*2019       ★
F.#2019R01298


UNITED STATES DISTRICT COURT
                                                                               BROOKLYN OFFICE
EASTERN DISTRICT OF NEW YORK
                                         X


UNITED STATES OF AMERICA                                 IND.           M


       - against -                                      Cr. Nd!
                                                        (T. 18, U.S.C., §§ 371,659,
QUINCY THORPE and                                        981(a)(1)(C), 2 and 3551 et seq.: T. 21,
EMMANUEL ASUQUO OKON,                                    U.S.C., § 853(p); T. 28, U.S.C.,
                                                         § 2461(c))
                         Defendants.


                                         X
                                                        BRODIE, J
THE GRAND JURY CHARGES:                                 LEVY, MJ.
                                          COUNT ONE
                                  (Conspiracy to Steal Cargo)

               1.     On or about September 24, 2019, within the Eastern District of New

York, the defendants QUINCY THORPE and EMMANUEL ASUQUO OKON,together

with others, did knowingly and willfully conspire to steal, unlawfully take and carry away

from an air terminal, airport, aircraft terminal and air navigation facility, to wit: John F.

Kennedy International Airport in Queens, New York("JFK Airport"), goods and chattels of

a value of$1,000 or more,to wit: a bag containing United States and foreign currency of

approximately $258,205 in value, which were moving as, were part of and which constituted

an interstate shipment offreight, express and other property, with intent to convert said

goods and chattels to their own use, contrary to Title 18, United States Code, Section 659.
   Case 1:19-cr-00492-HG Document 7 Filed 10/24/19 Page 2 of 5 PageID #: 19




               2.     In furtherance ofthe conspiracy and to effect its objects, the defendants

QUINCY THORPE and EMMANUEL ASUQUO OKON,together with others, did commit

and cause the commission of, among others, the following:

                                         OVERT ACTS


                      (a)     On or about September 24, 2019, at JFK Airport, THORPE stole

a bag containing cash from a shipment destined for Miami, Florida.

                      (b)     On or about September 24, 2019, at JFK Airport, THORPE

concealed the stolen bag and its contents in a luggage trailer attached to a vehicle.

                      (c)     On or about September 24, 2019, at JFK Airport, THORPE

brought the stolen bag and its contents into a car that OKON drove.

                      (d)     On or about September 24, 2019, at JFK Airport, OKON drove

the car containing the stolen bag and its contents away from JFK Airport.

              (Title 18, United States Code, Sections 371 and 3551 et seq.)

                                         COUNT TWO
                                         (Stolen Cargo)

               3.     On or about September 24, 2019, within the Eastern District of New

York,the defendants QUINCY THORPE and EMMANUEL ASUQUO OKON,together

with others, did knowingly and intentionally steal, unlawfully take and carry away from an

air terminal, airport, aircraft terminal and air navigation facility, to wit: JFK Airport, goods

and chattels of a value of$1,000 or more,to wit: a stolen bag containing United States and

foreign currency of approximately $258,205 in value, which were moving as, were part of
   Case 1:19-cr-00492-HG Document 7 Filed 10/24/19 Page 3 of 5 PageID #: 20




and which constituted an interstate shipment offreight, express and other property, with

intent to convert said goods and chattels to their own use.


               (Title 18, United States Code, Sections 659,2 and 3551 ^ seq.)

                          CRIMINAL FORFEITURE ALLEGATION


               4.     The United States hereby gives notice to the defendants that, upon their

conviction of either ofthe offenses charged herein, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), which require any person convicted ofsuch offenses to forfeit

any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly, as a result of such offenses.

               5.     If any ofthe above-described forfeitable property, as a result of any act

or omission of the defendants:

                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond the jurisdiction ofthe court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

divided without difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),
   Case 1:19-cr-00492-HG Document 7 Filed 10/24/19 Page 4 of 5 PageID #: 21




to seek forfeiture of any other property ofthe defendants up to the value ofthe forfeitable

property described in this forfeiture allegation.

              (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States

Code, Section 853(p); Title 28, United States Code, Section 2461(c))



                                                                A TRUE BILL




                                                               FOREPERSON




RICHARD P. DONOGHUE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK




ACTING
PURSUANTT(7l            0.136
                                                                           FJ: 20I9R0I298
                                                                           FORM DBD-34      No.
                                                                           JUN. 85
Case 1:19-cr-00492-HG Document 7 Filed 10/24/19 Page 5 of 5 PageID #: 22




                                                                                                   UNITED STATES DISTRICT COURT
                                                                                                                 EASTERN District of NEW YORK
                                                                                                                          CRIMINAL DIVISION
                                                                                                          THE UNITED STATES OF AMERICA
                                                                                                                                   V5.
                                                                                                   QUINCY THORPE AND EMMANUEL ASUQUO OKON,
                                                                                                                                                        Defendants.
                                                                                                                            INDICTMENT
                                                                                                  (T. 18, U.S.C., §§ 371,659,981(a)(1)(C), 2 and 3551 et seg.;
                                                                                                            T.2yy.S.C.,§ 853(p); T.28, U.S.C.,§ 2461(c))
                                                                                                  A true bill.
                                                                                                                                                           Foreperson
                                                                                            Filed in open court this                     day.
                                                                                            of                         A.D. 20 _
                                                                                                                                                                 Clerk
                                                                                            Bail, $
                                                                                                        John VagelatoSy Assistant U.S. Attorney(718)254-6182
